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 1   AYNUR BAGHIRZADE
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 4   AYNUR BAGHIRZADE, IN PRO SE
 5
 6
 7                         UNITED STATES DISTRICT COURT
 8                        SOUTHERN DISTRICT OF CALIFORNIA

 9
                                                    Case No.: 3:24-CV-01077-RSH-MMP
10   AYNUR BAGHIRZADE,
                                                    AFFIDAVIT TO DISQUALIFY THE
11                                   Plaintiff,     JUDGE PURSUANT TO RULE 144
                                                    AND 455 OF FEDERAL RULES OF
12           v.                                     CIVIL PROCEDURE.
     ARMENIAN NATIONAL
13
     COMMITTEE OF AMERICA, et al.,
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15                                                  Presiding Judge: Hon. Robert Huie
16                                                  Magistrate Judge : Hon. Michelle M.
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     Affidavit of Aynur Baghirzade                       Case No.: 3:24-CV-01077-RSH-MMP
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 1
 2                                       I. INTRODUCTION
 3
 4          Plaintiff respectfully asks Judge Robert Huie to disqualify himself from this
 5   case for being bias, allowing discriminatory attitude to the Plaintiff by his staff
 6   members, for going into open cooperation with Defendants in obstruction of justice
 7   by continuously, despite Plaintiff’s warnings, closing her Pacer account at crucial
 8   dates and deadlines, for intentionally pushing his staff to register her as an attorney
 9   while her motion to register as a pro se litigant was approved by his order, for

10   ignoring her motion to investigate the circumstances of why her Pacer account was

11   getting continuously restricted, for doing everything to ruin this case from the
     beginning using first Plaintiff’s financial situation as a ground for denial of her
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     access to justice, then restricting her Pacer account to hinder her access to justice,
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     by setting motions’ response deadlines for Plaintiff at the same dates with other
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     motions’ dates thus hoping that Plaintiff will not be able to respond in time and this
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     lawsuit will not proceed further, by allowing his staff to harass Plaintiff in the
16
     similar way as Armenian cartel members do. Facts Plaintiff has gives her a ground
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     to believe that Judge Robert Huie is not impartial. Plaintiff before asked the judge
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     Robert Huie to voluntarily step down from this case, she is now doing that
19   officially. Plaintiff’s understanding is that she didn’t file this lawsuit for the judge,
20   his surroundings or anybody else to get advantage of this case or her, if they can’t
21   uphold the Law and follow the rules they have to step down from this case.
22
23
24                  II. FACTUAL AND PROCEDURAL BACKGROUND
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26          Plaintiff filed this case on June 21, 2024, then amended it on August 15,
27   2024. Plaintiff’s financial circumstances pushed her to file a motion to move in

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 1   forma pauperis when she filed her motion on June 21, 2024 together with her
 2   complaint. Judge made an order on June 27, 2024, denying her motion because she
 3   didn’t follow the required form. Plaintiff filed another motion on July 2, 2024, to
 4   move in forma pauperis, which was denied by this Court too because “she has
 5   enough resources”. Judge obviously ignored the fact that all her earnings at that
 6   time were grants and not specifically an income, Enterprise did and does
 7   everything to close all sources of her income stealing money even from her
 8   banking account. Lucrative opportunity to crash down this case for the judge didn’t
 9   work when she paid on July 12, 2024 for this case, but shortly afterwards she was

10   faced with reluctance of the court to grant her access to the Pacer account. Before

11   using the Pacer account for filing she was registered just to monitor the case and
     she was kicked out from Pacer system several times for no reason - obviously the
12
     cartel didn’t want her even to monitor this case. She first filed a motion for the
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     leave of Court to file documents electronically on August 12, 2024, but was denied
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     on August 13, 2024 - again, because Plaintiff didn’t follow the form how to file
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     this motion. She filed a second motion for the leave of court to file documents
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     electronically on September 17, 2024. At the same time summons which were
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     returned to her executed by process servers and which she submitted to Court for
18
     filing were not filed to the system by Court until she several times called to the
19   court staff - Clerk’s office in highly inappropriate way was trying to persuade
20   Plaintiff that they don’t understand her English, obviously because probably the
21   staff itself couldn’t speak proper English or was specifically directed to harass
22   Plaintiff. Finally, on September 23, 2024, Court issued an order granting her
23   motion to file documents electronically. However, when Plaintiff tried to register in
24   Pacer system as a pro se she couldn’t do that, the system was directing her to
25   contact Pacer customer service. She called to the Pacer customer service line and
26   was told that it is the Court which restricts her access to the system and they
27   transferred the call to this Court. She doesn’t know whom she spoke to and her

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 1   later inquiries in who was the person she spoke to and what was his position at this
 2   Court didn’t give any results, she believes that she spoke to someone from Court’s
 3   clerks’ office and she was explained that there is a rule specific to this particular
 4   Court which requires Plaintiff to register as an attorney in order to file documents
 5   electronically. This happened two days before previous deadline for the Plaintiff to
 6   file her opposition to Defendant Yelp Inc.’s motion to dismiss. Plaintiff was also
 7   explained over the phone that she will not be able to file her opposition in paper
 8   either because of the court’s requirement for the attorneys to be registered to file
 9   documents online. Obviously, this was another attempt by the Court and by its staff

10   to crash this case and restrict her access to the justice system. Further research by

11   the Plaintiff revealed the fact that there was no Court order requiring an attorney to
     register in order to use Pacer system. Strangely enough, Judge Robert Huie showed
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     no interest in why his order granting Plaintiff an access to the Pacer system was not
13
     implemented. General Court order # 550 the court staff referred her to has no
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     obligation on the part of the Plaintiff to undergo such registration in order to have
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     an access to Pacer filing system. This actually served two other goals as well - first,
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     to make Plaintiff to pay as much money as possible (pattern very vividly employed
17
     by Armenian cartel) while she obviously was in crisis and second, to deprive her
18
     the opportunity to claim in the future that she is a pro se. This was done
19   fraudulently, by Court staff deliberately lying on the point. However, even after
20   Plaintiff’s registration, the mysteries with her Pacer account didn’t stop. On or
21   around October 22, 2024, when Plaintiff was trying to file a motion for default
22   judgment for the Defendants LegalMatch California and Estrella Sanchez she
23   revealed that LegalMatch California’s summons filed by her before were missing
24   from the docket and both summons were for Estrella Sanchez. On or around
25   November 6, 2024, when she tried to file her opposition to Defendants Armenian
26   National Committee of America, Armenian National Committee of America
27   Western Region, Aram Hamparian, Yelp Inc. and Jeremy Stoppelman’s motions to

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 1   dismiss she couldn’t find their motions in the system to file her opposition. Court
 2   explained it happening because of the “technical problems”. Strangely enough,
 3   those technical problems happened always when Plaintiff was required to file her
 4   oppositions to Defendants Yelp Inc., Jeremy Stoppelman, Armenian National
 5   Committee of America, Armenian National Committee of America Western
 6   Region, Aram Hamparian’s motions to dismiss. On November 6, 2024, Plaintiff
 7   filed a motion requesting Court to investigate the cases of continuous interference
 8   with her Pacer account which was denied by this Court. Obviously, judge didn’t
 9   want to investigate his own staff implementing orders coming from the Enterprise

10   an/or from him. At the same time Court staff made everything possible to “explain”

11   to the Plaintiff that the Court is bought and she shall expect nothing good with her
     case. On December 11, 2024, when Plaintiff needed to file a Request for Default
12
     for the Defendant Greystar, she noticed that she has no access to her Pacer account
13
     again. Pacer system without any email or warning restricted her account. She
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     called and spoke to Pacer customer service and was explained that it is because she
15
     didn’t pay - Plaintiff changed the credit card in the system long time ago, right
16
     before her next cycle of payment, the card had more than enough funds and it was
17
     a good question why they didn’t charge it on time and restricted her account right
18
     away without any warning before another Plaintiff’s deadline to file a document.
19   On December 23, 2024, when the Plaintiff was required to file her opposition to
20   Defendants Yelp Inc. and Jeremy Stoppelman’s motion to dismiss she discovered
21   that she can’t do that - her Pacer account was giving error messages for all her
22   filings, even for the old filings previously successfully downloaded to the system.
23   She sent all filings to Court asking for the help to file them electronically as she
24   had problems with her Pacer account. On the following day, Plaintiff called to
25   Pacer customer service line which explained to her that is is the Court which
26   restricted her account and she has to forward her questions to them. The similar
27   confirmation she received from Pacer customer service in her email on or around

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 1   December 31, 2024. For about 2-3 hours Plaintiff was trying to get a hold on
 2   anybody from the Court’s staff to have answers on her questions on what is going
 3   on and finally was advised that she has to bring her filings to Court in paper in
 4   order to file them. After the phone call, Plaintiff started printing her opposition and
 5   after several pages were printed her printer stopped working. Direct Wi Fi for her
 6   printer was disabled, all her efforts to print were futile. Interestingly enough, this
 7   happened after she had a conversation with Court and was advised to bring her
 8   documents to Court for filing. She was also promised that the documents will be
 9   filed as of December 23, 2024. Plaintiff was forced to go to FedEx office to print

10   her opposition. Further, Court stamped her opposition with December 23, 2024

11   date but filed them to the system as of December 24, 2024. Plaintiff was forced to
     file a motion asking for the leave of court to accept the filing to be filed as of
12
     December 23, 2024. It is also highly disturbing that the judge while considering
13
     Plaintiff’s ex parte applications for continuance does everything to keep all dates in
14
     January while in January thanks to judge’s efforts she now has 5 motions to
15
     respond. The last motion of Plaintiff asking to move two (!) motions of Defendants
16
     Los Angeles County Bar Association, Seth Chavez, Coco Su and Orange County
17
     Bar Association, Trudy Levindofske, Teresa Vuki to February was ordered by this
18
     Court to respond on January 27, 2025, while she will have another motion to
19   respond to with the same deadline on January 27, 2025 - because another
20   Defendant Greystar Inc. has a deadline to file its motion on January 6, 2025. So, in
21   Judge’s opinion Plaintiff has to respond to three motions with the same deadline
22   while she has another motion to respond on January 22, 2025, and another one to
23   respond on January 16, 2025, literally within 5 days she has to draft 3 motions and
24   file them in Judge’s opinion. There is no analysis in Judge’s order on the prejudice
25   to the parties if the motions’ deadline for the Plaintiff’s response will be moved to
26   February. Judge deliberately encroaches on Plaintiff’s Due Process rights and
27   abuses his discretion not to allow her enough time to respond to motions. Since

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 1   Judge was nominated to his position by Biden administration and Plaintiff is suing
 2   in this case ANCA, ANCAWR which are greatly supported by Democratic Party,
 3   Judge can’t be impartial to Plaintiff’s case. Therefore, Plaintiff asks the Judge to
 4   recuse himself from this case.
 5
 6                                   III. STANDARD OF REVIEW
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 8
            “A party seeking to disqualify the trial judge must do so at the earliest
 9
     moment after acquiring knowledge of the facts demonstrating the basis for such
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     disqualification. Travelers Ins. Co. v. Liljeberg Enterprises, Inc., 38 F.3d 1404,
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     1410 (5th Cir.1994).” McClelland v. Gronwaldt, 942 F. Supp. 297, 299 (E.D. Tex.
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     1996). Section 144 provides in relevant part - “Whenever a party to any
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     proceeding in a district court makes and files a timely and sufficient affidavit that
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     the judge before whom the matter is pending has a personal bias or prejudice either
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     against him or in favor of any adverse party, such judge shall proceed no further
16
     therein, but another judge shall be assigned to hear such proceeding.” Id. “Once a
17
     motion to disqualify is filed under § 144, the judge must pass on the sufficiency of
18
     the affidavit, but may not pass on the truth of the matter alleged. Henderson v.
19
     Dept. of Public Safety and Corrections, 901 F.2d 1288, 1296 (5th Cir.1990). The
20
     sufficiency of the affidavit is determined as a matter of law.” McClelland v.
21
     Gronwaldt, 942 F. Supp. 297, 300 (E.D. Tex. 1996). “A legally sufficient affidavit
22
     must meet the following requirements: (1) the facts must be material and stated
23
     with particularity; (2) the facts must be such that if true they would convince a
24
     reasonable man that a bias exists; and (3) the facts must show the bias is personal,
25
     and not judicial, in nature. Henderson, 901 F.2d at 1296.” McClelland v.
26
     Gronwaldt, 942 F. Supp. 297, 300 (E.D. Tex. 1996).
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 2           The facts brought by the Plaintiff are material, they are disturbing as the
 3   facts suggest that court and Judge are engaged in fraud in order to restrict
 4   Plaintiff’s access to the justice, at the same time Judge is engaged in making
 5   outrageous orders requiring Plaintiff to respond to 3 motions with the same
 6   deadline as if there are no other months in the calendar and as if defendants will
 7   suffer a significant prejudice while they will not. Since the judge is doing
 8   everything to bury this case from its inception he is the last person needed to
 9   adjudicate this case. Plaintiff respectfully asks the judge to recuse himself from this
10   case.
11
12                                    IV. ARGUMENTS
13
14           1. Judge is in violation of Canon 1 of the Code of Conduct for United
15   States Judges - A Judge Should Uphold the Integrity and Independence of the
16   Judiciary.
17
18           Canon 1 of the Code of Conduct for Unites States Judges establishes that “A
     judge should maintain and enforce high standards of conduct and should personally
19
     observe those standards, so that the integrity and independence of the judiciary
20
     may be preserved.” Judge obviously failed to do so when allowed his staff to
21
     harass Plaintiff with inappropriate behavior doubting her English (in the same way
22
     as Armenian cartel does) and then allowing them not to implement his own order
23
     granting her access to the Pacer system as a pro se, and then allowing them to lie
24
     that there is a court order requiring her to register as an attorney in order to get the
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     access to the Pacer system, and then restricting her Pacer account on crucial
26   deadlines obviously on the orders from the Enterprise. Judge is on errands for the
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 1   Enterprise and can’t and will not be able impartially and fairly to consider this
 2   case.
 3
 4           2. Judge is in violation of Canon 2 of the Code of Conduct for United
 5   States Judges: A Judge Should Avoid Impropriety and the Appearance of
 6   Impropriety in all Activities.
 7
 8           This Canon besides the requirement for the Judge to respect the law, obliges
 9   him “not to allow family, social, political, financial, or other relationships to

10   influence judicial conduct or judgment.” This Canon states that “ A judge should

11   neither lend the prestige of the judicial office to advance the private interests of the
     judge or others nor convey or permit others to convey the impression that they are
12
     in a special position to influence the judge.” Unfortunately, judge Robert Huie
13
     couldn’t live up to the expectations of this Canon. He is obviously affected by
14
     political advantages this case can bring to him and arranged for his staff to harass
15
     Plaintiff, to close her Pacer account multiple times, to engage in fraud. Judge
16
     together with his staff have to be Defendants in this case, and thus they should and
17
     must step down from this case. Judge also was nominated to his position by the
18
     Biden administration known very well for its support to Defendants ANCA,
19   ANCAWR and Aram Hamparian. Majority of the Congressmen in Democratic
20   Party are supportive to ANCA, most of them are members of the so called
21   Armenian Caucus, the judge obviously works to secure his position as much as
22   possible instead of impartially and fairly consider it on its merits.
23
24           3.     Judge is in violation of Canon 3 of the Code of Conduct for United
25   States Judges: A Judge Should Avoid Impropriety and the Appearance of
26   Impropriety in all Activities.
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 1            This standard requires the Judge to refrain from harassing, abusive,
 2    prejudiced, or biased behavior. It also requires a judge not to direct court personnel
 3    to engage in conduct on the judge’s behalf or as the judge’s representative when
 4    that conduct would contravene the Code if undertaken by the judge. However, the
 5    Judge through his staff harassed Plaintiff multiple times by illegally closing her
 6    Pacer account in the hope to ruin her case, by issuing orders on Plaintiff’s
 7    continuance requests with the deadlines for her responses coming in three-four
 8    days one after another, with multiple motions arranged for the Plaintiff to respond
 9    at the same date (recent order of January 6, 2025, with issuing orders

10    discriminatively giving other counsels sufficient time to file their motions (25 - 30

11    days) while deliberately keeping all 5 Plaintiff’s deadlines to respond to these
      motions in January as if there are no other months in the calendar, by putting the
12
      Plaintiff under unnecessary stress again in the hope to ruin her case. Plaintiff didn’t
13
      file this lawsuit to be harassed by Court and if the judge and the court’s staff can’t
14
      behave they become unnecessary burden rather than the platform for justice.
15
      Plaintiff needs adequate independent and unbiased judge and court to make fair
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      decisions on her case, judge Robert Huie didn’t live up to these expectations.
17
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              4.      Judge and his staff encroached on Plaintiff’s Constitutional rights
19    on Due Process of Law by closing her Pacer account, discriminating against
20    her by registering her as an attorney without her consent and by deliberately
21    setting up deadlines in the way to ruin Plaintiff’s case.
22
23            All facts Plaintiff has suggest that both Judge and his staff discriminate
24    against Plaintiff and encroach on her Constitutional rights under 5th Amendment,
25    they are not interested in justice and in fair adjudication of this case. They all
26    instead have to be Defendants in this case. Plaintiff therefore respectfully asks the
27    Judge to recuse himself from this case.

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 1
 2            I declare under penalty of perjury and under the laws of the United States of
 3    America that everything within my personal knowledge stated above is true and
 4    correct and this affidavit was made in good faith.
 5
 6
 7            DATED: January 6, 2025
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12
                                              By: Aynur Baghirzade
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                                              Aynur Baghirzade, Plaintiff
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